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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

       Plaintiff,

 v.                                                Criminal Action No. 21-22 (CKK)

 CHRISTOPHER RAY GRIDER.

       Defendant.


                        BRIEF IN SUPPORT OF
                DEFENDANT’S NOTICE OF INTENT TO RAISE
                     PUBLIC AUTHORITY DEFENSE

TO THE HONORABLE COLLEEN KOLLAR-KOTELLY, UNITED STATES DIS-
TRICT COURT JUDGE FOR THE DISTRICT OF COLUMBIA:

      CHRISTOPHER RAY GRIDER, the Defendant in the above styled and num-

bered cause, by and through undersigned counsel, submits the following brief in sup-

port of his Notice of Intent to Raise Public Authority Defense on June 22, 2022, ECF

Dkt. 102, as ordered by this Court by a Minute Order on June 23, 2022.

 I.   Introduction

      Federal Rule of Criminal Procedure 12.3(a) requires a defendant to give notice

to the attorney for the Government if they “intend[] to assert a defense of actual or

believed exercise of public authority on behalf of a law enforcement agency or federal

intelligence agency at the time of the alleged offense,” and file a copy of said notice

with the clerk. FED. R. CRIM. P. 12.3(a).

      A “public authority” defense “has been described as an affirmative defense

where the defendant seeks exoneration based on the fact that he reasonably relied on


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the authority of a government official to engage him in covert activity.” United States

v. Achter, 52 F.3d 753, 755 (8th Cir. 1995). “Entrapment by estoppel,” on the other

hand, applies “when an official assures a defendant that certain conduct is legal, and

the defendant reasonably relies on that advice and continues or initiates the conduct.”

Id. (quoting United States v. Smith, 940 F.2d 710, 714 (1st Cir. 1991)).

          Of these “defenses based on perceived government authority,” Mr. Grider in-

tends to raise the defense of entrapment by estoppel and is required to provide notice

under Federal Rule 12.3, despite the distinction from the classic “public authority

defense.” See United States v. Xiong, 914 F.3d 1154, 1159 (8th Cir. 2019).

    II.   Underlying Facts

          For purposes of this brief, Mr. Grider will set out non-privileged information

pertinent to this defense. Should this Court require additional evidence in advance of

trial, more specifically, any of Mr. Grider’s personal thoughts, private statements,

and recollections related to the applicability of the defense, Mr. Grider will submit

those in a separate filing after consideration of his request to submit those items un-

der seal and ex parte.

          Mr. Grider publicly stated his purpose in going to Washington, D.C. in his own

words to a local media station from Waco, Texas shortly after departing the Capitol

building on January 6: “The President asked people to come and show their support.

I feel like it’s the least we could do. That’s kinda why I came from Central Texas all

the way to D.C.” See Exhibit B offered at Mr. Grider’s Detention Hearing.1


1For ease, Mr. Grider has made a duplicate copy of Exhibit B offered and admitted at his Detention
Hearing available here: https://app.box.com/s/6lhoocwynd1wjw4g4596u6mt5ug6u9oz.


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        Mr. Grider expects the evidence will show that he attended the rally organized

and held by former President Donald J. Trump. As is commonly and publicly known,

President Trump spoke at length to those in attendance about his claims of “voter

fraud” and the need for those in attendance to demand government action to “stop

the steal.” See Transcript of Trump’s speech at rally before US Capitol riot (available

at    https://apnews.com/article/election-2020-joe-biden-donald-trump-capitol-siege-m

edia-e79eb5164613d6718e9f4502eb471f27). President Trump then directed those in

attendance, including Mr. Grider, as follows:

•    “After this, we’re going to walk down and I’ll be there with you. We’re going to
     walk down. We’re going to walk down any one you want, but I think right here.
     We’re going walk down to the Capitol, and we’re going to cheer on our brave sena-
     tors, and congressmen and women. We’re probably not going to be cheering so
     much for some of them because you’ll never take back our country with weakness.
     You have to show strength, and you have to be strong.

•    We have come to demand that Congress do the right thing and only count the
     electors who have been lawfully slated, lawfully slated. I know that everyone here
     will soon be marching over to the Capitol building to peacefully and patriotically
     make your voices heard.

•    So we’re going to, we’re going to walk down Pennsylvania Avenue, I love Pennsyl-
     vania Avenue, and we’re going to the Capitol and we’re going to try and give…
     The Democrats are hopeless. They’re never voting for anything, not even one vote.
     But we’re going to try and give our Republicans, the weak ones, because the strong
     ones don’t need any of our help, we’re going to try and give them the kind of pride
     and boldness that they need to take back our country.

•    So let’s walk down Pennsylvania Avenue. I want to thank you all. God bless you
     and God bless America. Thank you all for being here, this is incredible. Thank you
     very much. Thank you.

Id. Mr. Grider expects the evidence to show that, after President Trump concluded

his speech, he relied on those statements to permit him to go to and enter the United

States Capitol.



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III.   Entrapment by Estoppel

       In 1965, the Supreme Court held that the Due Process Clause of the United

States Constitution prohibited convicting a person for demonstrating in a location

where state officials “told him he could.” Cox v. Louisiana, 379 U.S. 559, 571 (1965).

In doing so, the Court relied on its previous holding in Raley v. Ohio, 360 U.S. 423

(1959). Cox, 379 at 571. In Raley, the Chairman of the ‘Un-American Activities Com-

mission’ of the State of Ohio “who clearly appeared to be the agent of the State in a

position to give such assurances, apprised three of the appellants that the privilege

[to refuse answering questions of the Commission] in fact existed, and by his behavior

toward the fourth obviously gave the same impression.” Raley, 360 U.S. at 437. While

the Court noted there was “no suggestion that the Commission had any intent to

deceive the appellants” the Court held that “to sustain the judgment of the Ohio Su-

preme Court on such a basis after the Commission had acted as it did would be to

sanction the most indefensible sort of entrapment by the State — convicting a citizen

for exercising a privilege which the State clearly had told him was available to him.”

Id. at 438.

       Both Cox and Raley involved a similar problem: “active misleading” from a per-

son of apparent authority directing defendants to engage in conduct ultimately

deemed by authorities to violate the law. Id. at 438–39 (“Here there were more than

commands simply vague or even contradictory. There was active misleading . . . The

State Supreme Court dismissed the statements of the Commission as legally errone-

ous, but the fact remains that at the inquiry they were the voice of the State most




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presently speaking to the appellants); Cox, 379 U.S. at 571 (“the highest police offi-

cials of the city, in the presence of the Sheriff and Mayor, in effect told the demon-

strators that they could meet where they did, 101 feet from the courthouse steps,” but

then had the demonstrators subsequently arrested for picketing near a courthouse).

      Both of these cases are considered to be the origin of the affirmative defense of

“entrapment by estoppel.” Note, The Immunity-Conferring Power of the Office of Legal

Counsel, 121 HARV. L. REV. 2086, 2093 (2008). As the Department of Justice has rec-

ognized, whereas with the defense of “public authority,” “it is the defendant whose

mistake leads to the commission of the crime; with entrapment by estoppel, ‘a gov-

ernment official commits an error and, in reliance thereon, the defendant thereby

violates the law.’” Criminal Resource Manual, CRM 2055, Department of Justice

(available at https://www.justice.gov/archives/jm/criminal-resource-manual-2055-pu

blic-authority-defense) (citing United States v. Burrows, 36 F.3d 875, 882 (9th Cir.

1994); United States v. Hedges, 912 F.2d 1397, 1405 (11th Cir. 1990); United States

v. Clegg, 846 F.2d 1221, 1222 (9th Cir. 1988); United States v. Tallmadge, 829 F.2d

767, 773-75 (9th Cir. 1987)); see also Achter, 52 F.3d at 755 (quoting Smith, 940 F.2d

at 714) (“Entrapment by estoppel has been held to apply when an official assures a

defendant that certain conduct is legal, and the defendant reasonably relies on that

advice and continues or initiates the conduct.”). “In short, the defense of entrapment

by estoppel involves the ‘concept of unintentional entrapment by an official who mis-

takenly misleads a person into a violation of the law.’” Id. (quoting United States v.

Brebner, 951 F.2d 1017, 1025 (9th Cir.1991)).




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        This Court has previously relied on the Third Circuit’s test for determining

whether the entrapment by estoppel defense applies. See United States v. Khanu, 664

F. Supp. 2d 35, 41 (D.D.C. 2009) (quoting United States v. W. Indies Transport, Inc.,

127 F.3d 299, 313 (3d Cir. 1997)). Under that test, the defense applies where “the

defendant establishes by a preponderance of the evidence that (1) a government offi-

cial (2) told the defendant that certain criminal conduct was legal, (3) the defendant

actually relied on the government official’s statements, (4) and the defendant’s reli-

ance was in good faith and reasonable in light of the identity of the government offi-

cial, the point of law represented, and the substance of the official’s statement.” Id.2

        Although Judge Howell has, in dicta, questioned whether an entrapment by

estoppel defense “applied generally to charged offenses arising out of the January 6,

2021 assault on the Capitol, . . .is likely to fail,” as applied to the specific facts of Mr.



2 As the Third Circuit recognized in W. Indies Transport, Inc., “Since Pennsylvania Chemical was de-
cided, other courts of appeals, citing the due process clause, have applied the entrapment by estoppel
defense, although employing slightly different tests. W. Indies Transp., Inc., 127 F.3d at 312–13 (3d
Cir. 1997) (citing United States v. Rector, 111 F.3d 503, 506–07 (7th Cir. 1997) (entrapment by estoppel
defense applies where “the one misleading the defendant be an official of the state; that he actively
mislead the defendant; and that the defendant’s reliance be actual and reasonable in light of the iden-
tity of the agent, the point of law represented, and the substance of the misrepresentation”; addition-
ally, defendant’s reliance must be in good faith); United States v. Aquino–Chacon, 109 F.3d 936, 938
(4th Cir. 1997) (“A criminal defendant may assert an entrapment-by-estoppel defense when the gov-
ernment affirmatively assures him that certain conduct is lawful, the defendant thereafter engages in
the conduct in reasonable reliance on those assurances, and a criminal prosecution based upon the
conduct ensues.”); United States v. Trevino-Martinez, 86 F.3d 65, 69 (5th Cir.1996) (“criminal defend-
ant may be entitled to raise a defense of entrapment by estoppel only when a government official or
agent actively assures a defendant that certain conduct is legal and the defendant reasonably relies
on that advice and continues or initiates the conduct”) (internal quotations omitted); Brebner, 951 F.2d
at 1024 (9th Cir.1991) (“The entrapment by estoppel defense applies when an authorized government
official tells the defendant that certain conduct is legal and the defendant believes the official.”); Smith,
940 F.2d at 714 (1st Cir.1991) (“Entrapment by estoppel has been held to apply when an official as-
sures a defendant that certain conduct is legal, and the defendant reasonably relies on that advice and
continues or initiates the conduct.”)). Nevertheless, as the court recognized, “These courts agree that
reasonable reliance means a defendant must establish that ‘a person truly desirous of obeying the law
would have accepted the information as true, and would not have been put on notice to make further
inquiries.’” Id. (quoting Trevino–Martinez, 86 F.3d at 69; Brebner, 951 F.2d at 1024).


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Grider’s case — a much different case factually than the one considered by Judge

Howell — the defense is applicable to some (but not all) of the allegations against

him. See United States v. Chrestman, 525 F. Supp. 3d 14, 28–29 (D.D.C. 2021) (“video

footage clearly show[ed] [the] defendant in the front of the crowd, interfering with

police barriers, confronting and threatening law enforcement, encouraging the crowd

to ‘take’ the Capitol, and leading the mob and his co-conspirators in efforts to keep

the metal barriers in the Capitol tunnels from closing, including by using his axe

handle”; defendant there also a known member of the Proud Boys).

       First, Mr. Grider has no intention of raising the defense relative to the allega-

tion in Count Three of the superseding indictment alleging destruction of government

property, nor the allegation in Count Eight alleging that he engaged in physical vio-

lence on Capitol grounds or buildings.3 As to those charges, Mr. Grider intends to use

the Government’s own evidence to show that there is absolutely no evidence of him

causing damage to any part of the United States Capitol Building, any evidence of

him engaged in physical violence on Capitol grounds or buildings, nor any evidence

of him intending to cause any damage to the Capitol building or engage in physical

violence therein. To the contrary, he intends to offer evidence where he is heard

shouting to others inside the Capitol not to break anything and attempting to help

officers avoid further injury.




3He would also maintain his innocence to the allegation in Count Six of the superseding indictment
should this Court deny his motion to dismiss that count. ECF Dkt. 101.


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         Where Mr. Grider intends to raise the entrapment by estoppel defense is re-

garding the allegations in Counts Seven and Nine, alleging disorderly conduct, pa-

rading, and demonstrating in a Capitol building and, as to the allegations in Counts

One, Two, Four and Five, should this Court deny his motion to dismiss those counts

presently pending before this Court. ECF Dkt. 101.

         Like the protestors in Cox who were wrongly told by “the Chief of Police and

other officials” to demonstrate at a specific location, Mr. Grider would show that the

Commander in Chief of the United States wrongly told him (and thousands of others)

that, together, they would march down to the Capitol building to “cheer on our brave

senators, and congressmen and women,” showing “strength,” and to “give them the

kind of pride and boldness they need to take back our country.” See Cox, 379 U.S. at

571. Like the “highest police officials of the city” in Cox, by his words, tone, and action

the President “in effect told the demonstrators [including Mr. Grider] that they could

meet where they did.” See id. This, in turn, created the effect of advising Mr. Grider

and others that their actions were legal. See Khanu, 664 F. Supp. at 41. Mr. Grider,

like many others who were there that day — but unlike the defendant in Chrestman

with a preconceived plan to commit violence at the Capitol — ignorantly “relied on

the government official’s statements.” See id; cf. Chrestman, 525 F. Supp. at 28–29.

Finally, Mr. Grider would show that his “reliance” on those statements was “in good

faith and reasonable in light of the identity of the government official, the point of

law represented, and the substance of the official’s statement.” Khanu, 664 F. Supp.

at 41.




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      To be clear, Mr. Grider does not presently maintain that anything President

Trump did or said that day was legal or justifiable. As the recent hearings before

Congress related to the events of January 6 have demonstrated, President Trump

was, at a minimum, complicit in creating the situation that enabled what took place

at the Capitol on January 6 to take place. While Judge Howell said generally that

“January 6 defendants asserting the entrapment by estoppel defense could not argue

that they were at all uncertain as to whether their conduct ran afoul of the criminal

law, given the obvious police barricades, police lines, and police orders restricting

entry at the Capitol,” Mr. Grider’s intends to show that he witnessed and experienced

a much different and unique scenario. The evidence will show that, while he saw

officers using pepper spray and rubber bullets to control others unlike him who were

being aggressive, violent, and destructive, he entered the building through a door

that was unoccupied by police and, unbeknownst to him, had been opened by other

violent and destructive individuals. Then, once inside the Capitol, when he saw police

lined up and restricting access to certain areas, he stood by and abided by their in-

structions.

      To be further clear, Mr. Grider does not, as Judge Howell insinuated, presently

believe President Trump’s directives “waived the entire corpus of criminal law” and

gave him “permission and privilege” to violate the law. Chrestman, 525 F. Supp. at

32 (emphasis added). Mr. Grider agrees with Judge Howell when she pointed out,

      No American President holds the power to sanction unlawful actions be-
      cause this would make farce of the rule of law.

      ***



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      [N]o President may unilaterally abrogate criminal laws duly enacted by
      Congress as they apply to a subgroup of his most vehement supporters.
      Accepting that premise, even for the limited purpose of immunizing de-
      fendant and others similarly situated from criminal liability, would re-
      quire this Court to accept that the President may prospectively shield
      whomever he pleases from prosecution simply by advising them that
      their conduct is lawful, in dereliction of his constitutional obligation to
      “take Care that the Laws be faithfully executed.” That proposition is be-
      yond the constitutional pale, and thus beyond the lawful powers of the
      President.

Chrestman, 525 F. Supp. at 32–33. However, the entrapment by estoppel defense is

not meant to justify, ratify, or permit the government official’s action. It is based on

notion that, in simplest terms, one person should not be held to account for violating

the law when a government agent gives that person permission to violate the law,

even when that permission is unlawful or “misleading.” Raley, 360 U.S. at 438–39. It

is the action of “convicting a citizen for exercising a privilege which the State had

clearly told him was available to him” that the “Due Process Clause does not permit.”

Cox, 379 U.S. at 571 (quoting Raley, 360 U.S. at 437).

      The case United States v. Barker provides some guidance on this point. 546

F.2d 940 (D.C. Cir. 1976) (per curiam). That case involved E. Howard Hunt, working

in conjunction with John Erlichman, G. Gordon Liddy, and others, and acting in his

capacity working for the White House recruited the two defendants to illegally enter

the office of a psychiatrist without a warrant to search for a file belonging to Daniel

Ellsberg, the source of the Pentagon Papers leak. Id. at 943–44. While the court found

it debatable whether Hunt had the legal authority to act as he did in his capacity

working on behalf of the President, as Judge Wilkey noted, “that is not the issue here




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for [the defendants].” Id. at 950. The issue, rather was “whether, given undisputed

facts as known and represented to them, it was reasonable in 1971 for [the defend-

ants] to act on the assumption that authority had been validly conferred on” Hunt.

Id.; see also id. at 957 (Merhige, J., concurring). Because the trial court failed to sub-

mit that issue to the jury, the defendants’ convictions were reversed, and the matter

was remanded for a new trial. Id. at 954.

      Here, instead of the edict coming from a presidential foot soldier like E. How-

ard Hunt, the commands that Mr. Grider heard came from the President of the

United States himself. See Khanu, 664 F. Supp. at 41 (noting that reasonableness of

the reliance is based on inter alia the identity of the government official making the

statement) Whether the President had the legal authority to direct a massive protest

at the Capitol is likewise not the issue. At a minimum, a juror could find it was rea-

sonable for Mr. Grider to believe that President Trump’s tone, words, and actions

authorized Mr. Grider to parade on Capitol ground and engage in disorderly and dis-

ruptive conduct with the intent to impede, disrupt, and disturb an orderly session of

Congress to accomplish that goal.

       WHEREFORE, PREMISES CONSIDERED, Mr. Grider respectfully requests

this Honorable Court permit him to submit his entrapment by estoppel defense to the

jury in his case.

Date: July 7, 2022                       Respectfully Submitted,

                                         MAYR LAW, P.C.

                                         by: /s/ T. Brent Mayr
                                         T. BRENT MAYR



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                                     CHRISTOPHER RAY GRIDER


                        CERTIFICATE OF SERVICE

     I certify that a true and correct copy of this memorandum was sent to Counsel

for the Government, Cindy Cho and Francesco Valentini, on July 7, 2022, via

CM/ECF and email.

                                     /s/ T. Brent Mayr
                                     T. BRENT MAYR




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